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 5
     adam@dippel-law.com
 6   Attorney for Defendant
 7
                            IN THE UNITED STATES DISTRICT COURT
 8

 9                                 FOR THE DISTRICT OF ARIZONA
10

11
     The United States of America,                           4:22-cr-00462-JGZ-LAB
12

13                    Plaintiff,                       MOTION TO CONTINUE TRIAL AND
                                                              PLEA DEADLINE
14
     vs.
15                                                         (Unopposed. Third Request)
16   Brian Tackett,
                                                              In-Custody Defendant
17
                      Defendant.
18

19
               It is expected that excludable delay under Title 18, United States Code,
20

21   §3161(h)(7)(A) will occur as a result of this motion or an order based thereon.
22
               Defendant, Brian Tackett, by and through counsel, hereby moves for a continuance
23

24   of the plea deadline currently set for July 22, 2022, and the trial date currently set for
25
     August 9, 2022. Pursuant to Title 18, United States Code, §3161(h)(7)(A), Mr. Tackett
26

27   requests a 30-day continuance in order to allow additional time to prepare for trial.
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31
     (. . .)
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 1
          Neither the counsel for co-defendant, nor the assigned AUSA have objections to the
 2

 3
     requested continuance.
 4

 5            RESPECTFULLY SUBMITTED this 25th day of July, 2022.
 6

 7

 8                                                 /s/ Adam Dippel
 9
                                                   ADAM DIPPEL
                                                   Attorney for Defendant Tackett
10

11

12
     Copy of the foregoing has been provided
     by electronic transmittal via the CM/ECF System:
13

14   Micah Schmit, Assistant
15
     United States Attorney’s Office
16   Philip Kimble
17   Attorney for co-defendant Hale
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